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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     WESTERN DIVISION


JIM BAKALEKOS, Individually and on Behalf
of all Others Similarly Situated                                PLAINTIFF


v.                       No. 4:15-cv-160-DPM


SAFECO INSURANCE COMPANY
OF INDIANA                                                 DEFENDANT


                              JUDGMENT

     The class-action-complaint is dismissed with prejudice.




                                 D.P. Marshall Jr. Z/
                                 United States District Judge
